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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


ISABEL LONGORIA, CATHY                            §
MORGAN,                                           §
            Plaintiffs,                           §                  SA-21-CV-01223-XR
                                                  §
v.                                                §
                                                  §
WARREN K. PAXTON, IN HIS                          §
OFFICIAL CAPACITY AS ATTORNEY                     §
GENERAL OF TEXAS; KIM OGG, IN                     §
HER OFFICIAL CAPACITY AS HARRIS                   §
COUNTY DISTRICT ATTORNEY;                         §
SHAWN DICK, IN HIS OFFICIAL                       §
CAPACITY AS WILLIAMSON                            §
COUNTY DISTRICT ATTORNEY; AND                     §
JOSE GARZA, IN HIS OFFICIAL                       §
CAPACTY AS TRAVIS COUNTY                          §
DISTRICT ATTORNEY,                                §
              Defendants.                         §

                                            ORDER

        On this date, the Court considered the status of this case. This case is RESET in time only
for an evidentiary hearing on Plaintiffs’ Opposed Motion for a Preliminary Injunction for Friday,
February 11, 2022, at 9:00 a.m. in Courtroom H, United States Courthouse, 262 West Nueva
Street, San Antonio, Texas 78207. No more than three representatives, including counsel and
technical staff, for Plaintiffs and Defendants may attend the hearing. Any party or witness who is
unable to attend the hearing in person may do so remotely. The Courtroom Deputy will inform the
parties of the means by which the hearing will be conducted remotely.

       It is so ORDERED.

       SIGNED this February 2, 2022.




                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE
